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7'                              U NITED STA TES DISTR IC T C O U RT                                            i
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8                                      D ISTR ICT O F N EV A DA
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9;' UNITED STATES 0F AMERICA,                        )                                                         !
                                                     )
l0              Plaintiff,                           )
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l1i     v.                                           )         2:08-CR-0309-JCM (1?AL)                         '
  :k                                                 )
12 ARYTOM MATEVOSYAN,                                )
                                                     )
l3                        Defendant.                 )
14 '                         PRELIM IN ARY O RD ER O F FO R FEIT UR E                                          .
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15           TiisCourtfindsthaton December29,2010,defendantARYTOM M AIEVOSYAN pled

16 guiltytoClluntsOneandTwoofaTwo-countCriminalIndictmentcharginghim inCountOnewith ;
l7!
  'Traflickinéjin, Production,and UseofCounterfeitAccessDevices,in violation ofTitle 18,United
    I
18.. Statu'
          sCoddl,Sectionl029(a)(l),andinCountTwowithFraudulentTransactionswithAccessDevices
19J' lssuk'dtoC'
               therPersons,inviolationofTitle18,UnitedStatesCode,Section 1029(a)(5).                           1
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20           This CourttindsthatdefendantARYTOM M ATEVOSYAN agreed to the forfeiture of
     ;;
21J property sctforth in 1heForfeitureAllegationsoftheCrim inalIndictment.
22:          Tl'k
                isCourttinds,pursuanttoFed.R.Crim.P.32.2(b)(1)and(2),thattheUnited Statesof '
  .
23.! A m vricahltsshow n the requisitenexusbetw een property setforth in theForfeitureA llegationsofthe i
                                                                                 2
24 CriminallndictmentandtheoffensestowhichdefendantARYTOM MATEVOSYAN pledguilty, j
                                                                                                               I
25           TlkefollowingassetsaresubjecttoforfeiturepursuanttoTitle18,UnitedStatesCode,Section !
26 982(a)(2)(13)and Thle18,UnitedStatesCode,Section 1O29(c)(1)(C):                                             (
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                Case 2:08-cr-00309-JCM-PAL           Document 107       Filed 01/04/11        Page 2 of 3
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           2I
                                   a) acounterfeitcreditcardbearingthere-enc/dedmagneticinformaticm@
                                      Citibank M astercard accountnumberending in X
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           3:                           .                                                           ,      .
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           51         ThisCourtfindsthe United StatesofAmerica isnow entitled to,and should,reduce the r
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                                                                  esofAme   rica,
            7I          N()W THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thatthe
            8i
             i Unittld StalesofAmerica should seizetheaforementioned property.
                                                                                        .

            9               IT IS FU RTH ER OR DERED ,A DJU D GED ,A N D D ECR EED thatallright,title,and interest
                                                                                                                        7
                l
           10i ofAIkYTOM MATEVOSYAN intheaforementionedpropertyisforfeitedandisvestedintheUnited 1
           11 StatesofAm ericaand shallbesafely held by theUnited StatesofAm ericauntilfurtherorderofthe
           12: cotllt
           13j
             '  I         .IT IS FURTHER ORDERED,ADJU DGED ,AN D DECREED thatthe United Statesof i
                                                                                                 l                      !

           14I America sllallpublish foratleastthirty(30)consecutivedaysontheofticialinternetgovernment 1
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           15: forfeiture 'Nebsite,www.forfeiture.cov,notice ot this Order,which shall describe the torfeited

           162 prop.zrty,slmethetimeundertheapplicablestatutewhenapetitioncontestingtheforfeituremustbe
           17I
             I tiled,and statethename and contactinform ation forthegovernm entattorney to be served with the
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           18i petitt
                    on,pursuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Sedion853(n)(2). I
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           19j          IT IS FURTHER OR DERED ,AD JUD G ED ,AN D DECREED thata petition,ifany,m ust 1
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           20; be filed with theClerkoftheCourt,333 LasVegasBoulevard South,LasVegas,'
                                                                                     Nevada 89101, I
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           2ll          IT IS FURTHER  ORDERED,   ADJ UDGED, AND  DECREED    t
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           22        any,shallthe served upon the A ssetForfeiture Attorney ofthe United StatesAttorney'sO fticeatthe
           23 following addressatthe tim e ofliling;
                1.                                                                                                      I
           24!
             ,'                    DanielD . Hollingsworth                                                              1
                i                  AssistantUnitedStatesAttorney                                                        I
           25:                     Lloyd D .G eorge U nited StatesCourthouse
             Ii                    333 LasVegasBoulevard South, Suite5000                                               r
           26                      LasV egas,N evada 89101.
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     l             IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED thatthe notice described
     2     herein neetlnotbe published in the eventa Declaration of Forfeiture is issued by the appropriate
     3 agensly follow ing publication ofnotice of seizure and intentto adm inistratively fbrfeitthe above- '
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     4 desclibed assets.
     5'            DATED this           dayot-            q           ,2010.                                  1
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